                                      CASE 0:22-cr-00159-WMW-TNL Doc. 5 Filed 06/28/22 Page 1 of 1

                                                   IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE DISTRICT OF MINNESOTA

                                                       INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                       )            COURTROOM MINUTES - CRIMINAL
                                                                )              BEFORE: BECKY R. THORSON
                                          Plaintiff,            )                  U.S. Magistrate Judge
                                                                )
   v.                                                           )    Case No:              22-mj-530 BRT
                                                                )    Date:                 June 28, 2022
 Shamir Nathann Black,                                          )    Video Conference
                                                                )    Time Commenced:        1:04 p.m.
                                          Defendant,            )    Time Concluded:        1:13 p.m.
                                                                     Time in Court:         9 minutes


APPEARANCES:

   Plaintiff: Andrew Dunne, Assistant U.S. Attorney
   Defendant: Manny Atwal, Assistant Federal Public Defender
                        X FPD          X To be appointed

   Date Charges Filed: 6/27/2022                       Offense: taking a motor vehicle by force, violence and intimidation with
                                                                                    intent to cause death and bodily harm

   X Advised of Rights

on        X Complaint

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is June 30, 2022 at 10:00 a.m. via video conference before U.S. Magistrate Judge Becky R.
Thorson for:
 X Detention hrg        X Preliminary hrg


Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                            s/SAE
                                                                                                        Signature of Courtroom Deputy




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